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                     UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF MICHIGAN


VERNON OARD,

                   Plaintiff,
                                                    Case No. 1:17-CV-1136
                                                    Hon. PAUL L. MALONEY

COUNTY OF MUSKEGON, and
14TH JUDICIAL CIRCUIT COURT,

                   Defendants.

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                                PROOF OF SERVICE


       Erika S. Dech, Legal Assistant at Pinsky, Smith, Fayette & Kennedy LLP,
states that on June 25, 2018, she served PLAINTIFF’S FIRST INTERROGATORIES
AND REQUEST FOR PRODUCTION OF DOCUMENTS TO DEFENDANTS upon
Laura S. Amtsbuechler, SCHULTZ & JOPPICH PC, 27555 Executive Drive, Suite
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       I declare that this Proof of Service has been examined by me and that the
contents thereof are true to the best of my information, knowledge, and belief.


                                                    /s/ Erika Dech
                                                            Erika Dech
